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                         UNITED STATES DISTRICT COURT

                                       FOR THE

                      MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

                          Plaintiff
                                                          CIVIL NO.
            vs.


DAN ZHANG

                          Defendant


                                      COMPLAINT

       The United States of America, on behalf of its Agency, Department of Health and

Human Services, by its specially appointed counsel, Michael McKeever of KML LAW

GROUP, P.C., represents as follows:

       1.      This Court has jurisdiction pursuant to 28 U.S.C. 1345.

       2.      The last-known address of the Defendant, DAN ZHANG (“Defendant”) is

19 Monterey Building, Hershey, PA 17033.

       3.      That the defendant is indebted to the plaintiff in principal amount of

$46,092.00, plus interest in the amount of $30,067.14, for a total of $76,159.14. A true

and correct copy of the Certificate of Indebtedness is attached as Exhibit “A”

(“Certificate of Indebtedness”).

       4.      Demand has been made upon Defendant by Plaintiff for the sum due but

the amount due remains unpaid.

       WHEREFORE, the plaintiff demands judgment against Defendant as follows;
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               (A) In the amount $76,159.14.

               (B) Interest from the date of judgment at the legal rate of interest in effect

                   on the date of judgment until paid in full.

               (C) Costs of suit.

       Notice is hereby given to Defendant that Plaintiff intends to seek satisfaction of

any judgment rendered in it favor in this action from any debt accruing.



                                      United States of America by and through
                                      its specially assigned counsel
                                      KML Law Group, P.C.

                                      By:________________________________
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